UNITED STA'I`ES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA

 

 

f X
JOHN DOE, -
Civil Action No:
Plaintiff,
-against- : DECLARATION OF
= umw
WASHINGTON AND LEE UNIVERSITY, :
Defendant. :
X
I, Witness l,l declare pursuant to 28 U.S.C, 1746:
1. I am a Witness to the events and witnesses described in the underlying action and l

submit this Declaration in support ofPlaintiff John Doe’s Motion for a Preliminary lnjunction.

2. I am a student at Washington and Lee University in my junior year.

3. At the time of the events described in the underlying Complaint, I was John Doe’s
roommate all of sophomore year.

4. I am a member of SPEAK, which is a student organization on campus that
advocates against sexual assault I have been a member of SPEAK since the beginning of my
junior year. Jane Doe is also a member of SPEAK.

5. On October 5, 2014, SPEAK held a meeting to train all the members of SPEAK
for freshmen orientation The meeting was held h'om about 1:00 p.m. to 4:00 p.m. l believe Jane

Doe was also present at this particular training session

 

l Beeause Plaintiff is moving to proceed anonymously and revealing my name may reveal the name of Plaintiff, l
am being identified in this declaration as “Witness ],” which is not my real name. [ am the first witness identified on
page ll of the report attached as Exhibit B to the Verified Complaint. Although l am not using my name in this
Declaration, Defendant, which prepared the report, is aware of my identity.

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Filed 12/16/14 Page 1 of 8 Pageid#: 94

6. For the first two hours, Director of Health Promotion Jan Kaufrnan and Clinical
Psychologist Dr. Janet Boller led the training on how we were expected to teach the freshmen on
“active bystanding.”

7. For the last hour, Title lX Coordinator, Lauren E. Kozak talked about Title IX and
her duties and responsibilities in her role as Title lX Coordinator. I believe Ms. Kozak presented
a few power point slides about the active bystanding program One of the power point slides
introduced an article, “Is it Possible That There I_s Something In Between Consensual Sex And
R.ape...And That lt Happens To Almost Every Girl Out There?” A true copy of the article is
attached as 13thbe H. Available at http://totalsororitvmove_com/is-it-possible»that~there-is-
- irl-out-

somethin -in-between-consensual-sex-and-ra e-and-that-it-ha ens~to-almost-eve

       

w (last visited December ll, 2014). Ms. Kozak asked us to review the article and discuss it
amongst ourselves

8. Ms. Kozak stated that the reason for introducing this article was to make her point
that regret equals rape, and she stressed the point very strongly. Ms. Kozak went on to state her
belief that this point was a new idea everyone is starting to agree with.

9. A few female students agreed with Ms. Kozac’s points, and stated that they have
been in a similar scenario. I do not believe any males in the room offered an opinion on this
article. I also remember this article being pretty popular with most of the female students in
SPEAK. Of the 14-18 students present at the SPEAK training, only 4 or 5 of us had not read the
article.

l(). l do not remember which other students contributed to the discussion, but l do
remember Ms. Kozak said, “Regret is rape.” l remember this, because l have never heard anyone

say this or have this opinion Honestly, I felt incredibly uncomfortable, because it was extremely

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Filed 12/16/14 Page 2 of 8 Pageid#: 95

awkward having so few guys in the room while this opinion was being discussed There Were
Only 2 or 3 male students, including myself, in the room with li'). to 15 female students (including
Jane Doe) along with an all-female panel of directors leading the training.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct

Dated: New York, New York
Decemb er B, 2014

'W{‘iiaas j_.

WITNESS 1

 

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Filed 12/16/14 Page 3 of 8 Pageid#: 96

 

 

o Co|umns
- News
o Photos
~ Wdeos
n Contests
c Hal|oween
o ThrewWhatYou Know
- Coo|er Painting

~ TheWa|l
- More
¢ TSM App(iOS]
~ Tota|Frat Move
a Submi't

Home v Colurnns » isirPass-l"bi'e met

7?:ere fs Somet.";£rrg}n Between- C ansensuaf 5e1/And Rape. ` .And N)at .»'r Hap,oe'ns ?'<)Afm»ost i~`very Gx'rf our .?’hera?

  

 

TREND'NGTODAY ls it Possible That There ls Something |n
1' `S;t;§,°i;"""°°m“l““°D”“‘"g‘:°"“" Between Consensual Sex And Rape. . .And
t tt";l?£fl;“§;§;°ti;l"£;%§;‘§‘;ftk That lt Happens To Almost Every G irl Out
3' E§l§§§l§‘fh'§»§§`;'ali$§§il§a§i'i§‘i`f.l'n"-s There?

Brains
§ hot piece of TSM §§ 163 ® 3 months

4. The Creepl'est Tinder Pickup Liries Ever -

Part 11= Peund Town f 5ha,,e § ‘;~Weet @ Pin § Emai§ - §§ Nice Move

5._ 51 Thoughts Vou’|| Have Whi|e Watching The
V'ictorla's Secret Fashion Show

 

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Fi|_ed 12/16/14 P`age 4 of 8. Pageid#: 97

pnm lLAp rnl_i rM_NS

51- `Fhou`ght`s~ Yoi.i’ti _i-:~i_ave Whilej Watching fha
Vict_oria' s Secret F_a's`hion Show-
yeahokaywhat . '

The 12 Days OfWhite Gir| Christmas
theSrattyTheta

44 Things avery Girl ones on Her Periad
That Are Absoluteiy Insane
Recruit me nt ChairTSM

  

Reasonsl Hate E_ve_ryone
eahok`aywhat `

University Of Texas Fraternity Makes Rea|iy,
Um, interesting “Blank Space" Video, We’re
Not Sure How We Feei About lt

hot piece of TSM

These Are The Top 25 Teams ln Ce||ege
Footba|l, Ranl<ed By How Hot The Players
Ar-e

2NOTBrokeGirls

10 Tirnes The Baby Grinch Perfect|y
Explained Your Love l_ife

 

 

 

 

rolled out of bed around noon that day, in celebration ot it being Saturday. After no fewer
than 13 hours of drinking l ended up at my friend Matt' s housel | had1 been fi§rting with him
all night- -and arguany all of my college career

  

He wasn’t traditionally good- -iooking,. " `
boy' in him that made him Weirdlyh `“ ':‘ _ .

since We met, | aiways feit a twinge_ crtemen't when i had his attention so when l
found myself havinga heart- to~hea _ n_hisbedroom l felt a weird combination of
emotions Part of me felt as if l was 15= again i was excited and nervous to be there | was hyper
aware of my body, and of his, wondering maybe everi hoping_. be'd kiss me Another part ot me
felt that this was wrong-. Not in an "it’s wrong,_ but it' s hot and scandaious and l still want to do it"_
way~wro'ng as in not right, wrong as in uncomfortable `Fhis was not a guy i wanted to get
involved with This was a guy who’d had anonymous giri after anonymous girl in and out of his
bedroom since we were in the dorms. This was a guy with whom |'d bad countless conversations
about his inability to care about women romanticaiiy i'his was Matt. l~ie interrupted mylnner
conflict with something that would have way more weight years later

 
   
  

 

"i feet like you want me to make a move,just so you can turn me down,” he said

Before l even had a chance to decide if he was right we were making ont. |n my state of extreme
intoxication my mind was racing in search of a decision This was excitingl This was fun Bu‘t this
was aiso reaily, really weird, and ultimately, not a road i wanted to go down l couidn' t decide it
the excitement and lust in the air wouid win over the pit` in my stomach lt wasn ’t until he
grabbed a condom that t really knew how | felt l was not okay with this. t did not want to have
sex with him.

But i did.

Me'a"‘t§\étse e:_14-cv-00052-NK1\/l-RSB Documem 9-1 Filed12/16/14 Pageaofa Pageid#:sa

Trué tire 1 cat caught Having sex in My

i-ie slid inside me and l dldn’t say a word. At the time, l oldn*t know why. Maybe l didn’t want to

 

Sorority House
walt_what25

43 Slgns You Went To A Catholic ngh Schoo|
Hakuna Moscato

26 Reasons Not To Kl|l ‘r'ourself Whl|e You’re

Home Thls l-lollday Seaso'n
bowsandbourbon93

teel like l’d led him on. Maybe l didn’t want to disappoint him. Maybe ljust didn't want to deal
with the "let’s do lt, but no, we shouldn't” verbal tug-of-war that so often happens before
sleeping with someone lt was easier toiust do it. Besides. we were already in bed, and this is
what people in bed do. l felt an obligation a duty to go through with lt. l feit guilty for not
wanting to. l wasn’t a virgin l’d done this before lt shouldn’t have been a big deal-r'r’sjusrse)r~
sol didn’t want to make it one.

lstared at the ceiling the whole time, occasionally flashing him the take smiie reserved for
people you accidentally make eye contact with in the grocery store. l don’t think l moved the
entire time, and l didn’t care if he noticed |just wanted lt to end,' and l knew it wooldn’t be long l
just had to suck lt up for a few minutes let him do his thing, and it would be over. When it finally
was, he smiled at me, kissed my forehead, and asked how lt was. As we cuddl_ed, l reaiized that
what we had done was no different to him than the sex he'd had with anyone else Dvernight. l
convinced myself lt was no different to me, elther.

l woke up with an “oh shit" feeling that quickly turned into an "oh wel|.'l l dldn’t really feel i’d
been violated, though part of me knew l had. | wasn’t mad. l wasn’t hurt l didn’t want vengeance.
ididn’t even feel welrd around him soon after. l didn’t feel much of anything l certainly didn’t
feel like i’ci been raped Bot what had happened the night prior was not consensual sex, and l
didn‘t like lt. l wanted the flirting. l wanted the kissing. l wanted the sleepover. But l dldn’t want
to go all the way. And that’s very hard to explain to a man who is just as drunk as you are.

There is not a word for my experience The fact that there’s not a word for lt makes usfeel like it
doesn’t exist Or maybe there's not a word for it because we're pretending lt doesn’t exist But
this weird place in between consensual sex and rape? lt‘s there lt doesexlst. And it’s happening
all the tlme. As it turns out, almost every woman l spoke to had been there at some point or
another:

“`io be honest lt would have been awkward to say no, so l just did it.”

"l don't feel like it was a huge deai. Someti_rnes you have to have lunch with girls you don't want
to have lunch wlth, and sometimes you have to have sex with boys you don‘t want to have sex
wlth. lv'laybe you’re plssy about lt right after, but it doesn’t affect you iong»term, you know?"

“l-ie was really drunk. He had no way of knowing l didn’t want lt."

lt happens to us with consistent hookups, first dates, boyfriends, and one-night stands alike We
have sex with guys, because sometimes lt'sjust easier to do it than to have the argument about
not doing -it. But no one talks about lt. Tall<lng about lt makes it a big deai. lt makes us feel like
we‘re whlning. lt makes us feel like we’re being dramatic And we don’t want it to be dramatic
We don't feel entirely violated_. lt doesn’t affect us forever. Wejust feel like we got the short end
of the stick, and that sometimes we have to do something we don't want to do, out of pollteness `
or social obligation 50 why bring it up? Why risk wrongfully tagglng a guy with a serious, heavy
label he doesn’t deserve? And more lmportantly, why risk being wrongfully tagged as "the glri
who cried rape," when we‘re not trying to say lt was rape at al§? We're saying we don't know
what it was. We just didn't like lt. But by refusing to acknowledge the existence of these rape»;'sh
sltuations, we’re continuing to subject ourselves to them indefinitely

/mage wis 5hurter5tock

f Share § `i'weet @ Pln m Ernail §§ N_lce Move

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Fl|ed 12/16/14 Page 6 of 8 Pageld#: 99

 

 

 

 

hot piece of TSM

Hot Piece (@VeronicaGrandex) is the Director of Totai Sc>rority Move for Grandex, lnc, After having spent
her undergraduate years drinking 54 doubie L|Ts on a patio and drunk texting away potential suitors, she
managed to graduate with an impressive GPA and an unimpressive engagement ring -- so unimpress§ve, ia
fact, some migint say it's not there at all. Hot Piece has since been iu|fi!l§ng her duties as “America‘s big,"‘ a
title she gave to herse|fwith the hein of her giant ego. She has recently switched from vcd ka to wine en
weekdavs. Emaii her at veronica@grandex.co

More From hot piece ofT-SM n

 

We Flecomh‘lend sponsored unks by Taboola

     
  

 

   

    

Bruce Jenner Steps O“czt With iessa Duggar Needs To Rethink 15 Jokes We TOTALLY Missed

Diamond Earrings, French The Famjly She's Marx'yi.ng Into le Be§oved Fiims Frem Our
Manicure and Ponytail (PHO'I_`... Srirri=z DQH.\' Youth
Si'irz'ing Daiiy ' ' . n n ' Ref`me."y'ag

 

    

Things Giris Say to Test Men Jennifer Lawrence‘s Beverly Kate Middleton‘s Appearance at

€?-Imew' Hills Home Is Beyond Rec`ent Public Outing ls Quite
Extravagant Troub]ing {PHO'I‘O]

Case 6:14-cv-00052-NKI\/|-RSB `_Doctiment 9-1 Filed 12/16/14 Page 7 of 8 Pageid#: 100

   

Ma\'nas L:m` n.a.s

 

comments '

Yo`u must be iogged in to comment tag in or create an account

   

_. . Big

southerngiriZ?_?¢i Thank you so much fof writing this. i had something like this happen to me my 219
freshman year, and a wh§Ee later l started dating another guy. i eventually openeci

up to my boyfriend at the time about what had happened, explaining that i felt like l got raped, but at

the same time i knew it wasn’t RAPE` He accused me of being the "girl who cried wo§f" and broke up

with me then and tnere, and then proceeded to teii the guy that raped~but-didn't-ra pe-me-idk that t

was going around telling people that he raped roe [whicn |wasn’t, nobody knew that him and l had

sex besides me, my big and my later boyfriend). This is an issue that needs to somehow be

addressed, because | know |’m not aione when i say that there’s nights where ijust break down and

cry because l’m not sure how l’m supposed to feel about sleeping with this guy 3 years later.

" This » Bless your heart - Reply 3 ths ago

     

 

hot piece otTS?~/t |’rn sorry to hear that, and indefinitely do think it's an issue. You‘re not 124
alone. l‘d reaily venture to say that most women have an experience like

this. Mayl:ie different details But you didn’t say no. And you’re not mad at the guy, and

don’t want him to get in trouble But it left you feeling uncomfortable l think starting a

dialogue is the first step, but l don’t have any idea what the possib§e solution is_

" This h Bless ur heart Reply¢ 3 months ago

  

. Big
Vonce l think ttiefbest soiution is education on affirmative enthusiastic consent 69
Understanc_ling that consent to one thing means consent to ONi_Y that
" ` _ thing Any time you"want fto escaiate from one physical/sexual act to another (e.g
from getting in bed _to having sex), then you need to ASK your partner if your
- partner cleariy wants to have.'s'ex as much as you do. they’li indicate it either
verbaliy or non`verbally and that is consent We should emphasize that instead of
` going for the'baseiine of a bareiy "yes" or a go aiong to get along type of response
that we want our partners to clearly want it as much as we cio. Then the sex Will
t be consensual-and more hot.

" Th is - B§ess your heart - Repiy c 3 months ago

Case 6:14-cv-00052-NKI\/|-RSB Document 9-1 Filed 12/16/14 Page 8 of 8 Pageid#: 101

